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 1          Finally, for the reasons stated on the record, Plaintiff’s ex parte motion to enforce
 2    the March 15, 2022, order regarding claim narrowing [Doc. No. 134] is DENIED.
 3          It is SO ORDERED.
 4    Dated: May 26, 2022
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